                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IRYNA ZHYRIADA,

                          Plaintiff,
       v.                                         CIVIL ACTION
                                                  NO. 19-5703
HEALTHCARE REVENUE RECOVERY
GROUP, LLC., et al.,

                          Defendants.


                                        ORDER

      AND NOW, this 12th day of April, 2023, it is hereby ORDERED that ORAL

ARGUMENT on the Motion for Summary Judgment (ECF 16) filed by Healthcare

Revenue Recovery Group, LLC has been scheduled for WEDNESDAY, APRIL 26,

2023 at 10:00 a.m., before the Honorable Gerald J. Pappert, in COURTROOM 11-A,

on the Eleventh Floor, at the United States Courthouse, 601 Market Street,

Philadelphia, PA 19106.

                                              BY THE COURT:



                                              /s/ Gerald J. Pappert
                                              GERALD J. PAPPERT, J.
